Case 5:22-cr-01203

AQ Ol (Rev. 11/11) Criminal Complaint

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UNITED STATES DISTRICT COURT

for the

Southern District of Texas

 

 

 

United States of America }
v.
Ricardo GONZALEZ Case No.
)
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of August 22, 2022 in the county of Webb in the
Southem District of Texas , the defendant(s) violated:
Code Section Offense Description
8 USC 1324 Knowing and in reckless disregard of the fact that an alien had come to, entered, and

remained in the United States in violation of law, did transport and move and attempted to
transport and move and conspired to transport and move such alien within the United
States by means of transportation and otherwise in furtherance of such violation of law.

This criminal complaint is based on these facts:

Continued on Affidavit

[V continued on the attached sheet.

/S/Edilberto Ramirez

 

Complainant's signature

Edilberto Ramirez Border Patrol Agent

 

i
Printed name and title

Sworn to before me and signed in my presence,

Date: August 24, 2022

City and state: Laredo, Texas

 

Judge's signature

Christopher dos Santos _U.S. Magistrate Judge

 

Printed name and title
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AFFIDAVIT

In support of Criminal Complaint

UNITED STATES OF AMERICA CRIMINAL COMPLAINT

Vv.
Ricardo GONZALEZ Case Number:

1. On August 22, 2022, Border Patrol Agents (BPAs) along with the Texas Department of Public Safety Criminal
Investigations Division (DPS CID) were performing covert surveillance at Laredo Street and Tilden Avenue in Laredo, Texas in
Webb County.

2. This area is known to be frequently used by undocumented non-citizens smuggling organizations (SOs) to perform
exchanges of undocumented non-citizens (UNCs) from vehicle to vehicle and later be taken to stash houses. This and other similar
areas are exploited by SOs due to the fact they have poor illumination during night hours, low traffic of vehicles and they have easy
access to main roads and highways. With the BPA's two years of intelligence experience, she has observed an increase of
smuggling activity in this area such as exchanges of UNCs as the number of illegal entries increase at the southwest border.

3. Al approximately 7:20 p.m., BPAs observed approximately 10 subjects dressed in dark clothing, exit a silver Dodge
Caravan one at a time and enter a white Ford F-250. BPAs further observed the driver of the F-250 speaking through his cellular
phone and wearing a bright colored t-shirt. The F-250 departed the location and began driving south through Laredo, Texas. BPAs
began relaying the vehicle's direction of travel to surrounding service marked vehicles. BPAs further observed a white Nissan Titan
pull up behind the F-250 to prevent and impede law enforcement detection. The Nissan Titan stayed close to the F-250 as it
continued traveling south, until it they arrived at the intersection of U.S. Highway 83 and Pita Mangana Road. The BPAs proceeded
to request and obtain assistance from an Air and Marine Operations (AMO) helicopter. Additionally, Webb County Attorney's
Office (WCAO) Officer heard the request for assistance via service radio and responded to the area. BPAs along with DPS CID
continued to perform mobile surveillance of the F-250, as the AMO helicopter-maintained arial visual. After following the vehicle
through various streets, a marked WCAO service vehicle attempted to perform a traffic stop on the F-250 at the intersection of
Primavera Lane and Ejido Avenue. The F-250 failed to yield to the service vehicle's emergency equipment; WCAO along with
Texas DPS Troopers in marked service vehicles engaged in a short pursuit. The F-250 eventually came to stop at the intersection of
Bianka Lane and Vientos road and the driver, Ricardo Gonzalez, absconded from the vehicle. After a brief foot pursuit, DPS
Troopers arrested Gonzalez. WCAO Officers secured the vehicle and discovered 10 subjects inside the F-250. A uniformed BPA
responded to the location and performed an immigration inspection of all occupants and determined that all 10 passengers were
illegally present in the United States. The 10 subjects were placed under arrest and all subjects were transported to the Laredo South
Border Patrol Station for further investigation.

4, Ricardo Gonzalez was issued a citation by Texas DPS Troopers for speeding 10 or more above the posted speed limit.

5. Ricardo Gonzalez was read his Miranda Rights Warning and acknowledged by signing Department of Homeland Security
form 1-214. Gonzalez waived his right to legal counsel and was willing to provide a statement without an attorney present.

6. Ricardo Gonzalez began by admitting he was aware that transporting illegal people was a federal offense and that he was
being arrested for his role in the smuggling attempt. He stated he picked up “Piezas” loosely translated as pieces, and he knew they
were immigrants. He further stated he had 10 immigrants with him and was going to take them to “Guardarlas en una bodega”
loosely translated as store them in a warehouse. Additionally, he admitted he was going to be paid $100 United Stated Dollars per
person. He also stated he contacted an unknown person for work because he needed money.

7. Maria Del Carmen Dircio-Melchor a citizen of Mexico, will be used as a material witness on the case of Ricardo Gonzalez.
Dircio-Melchor began by stating that her father made the arrangements for her to cross into the United States for an unknown
amount. She affirmed she waded across the Rio Grande River on August 20, 2022, near Laredo, Texas. After her illegal entry, she
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was picked up and taken to an unknown location. On 08/22/2022, she was instructed to board a mini van along with nine others.
They were taken to an unknown location where they were instructed to enter a Ford truck that was already stationary. The driver of
the mini van instructed them to exit rapidly and enter the white pickup truck. Dircio-Melchor stated the driver of the pickup truck
instructed her to stay calm and not to worry. The driver of the pickup truck also instructed the others to crouch down. She
described the driver as having tattoo of a red kiss on the right side of his neck and tattoos on his two arms. She further described
him as having a beard, a cap, and a green t-shirt. She claimed they were going to be transferred to another vehicle. She further
mentioned that the driver instructed them to throw themselves once he knew he was being followed.

8. Alejandro Castillo-Sotelo a citizen of Mexico, will be used as a material witness on the case of Ricardo Gonzalez. He
stated he made arrangements to pay $40,000 Mexican Pesos and $6,000 United States Dollars to cross into the United States and
taken to South Carolina. He affirmed he waded across the Rio Grande River on August 20, 2022, near Laredo, Texas. After
crossing the river, he was picked up and taken to an unknown location. On 08/22/2022, he was instructed to board a minivan along
with others. They were taken to an unknown location and instructed to rapidly enter another vehicle. The driver then instructed
them to settle down and crouch down. He stated the patrol unit attempted to stop the truck and the driver asked the group if they
wanted to run but they said no. Castillo-Sotelo positively identified Gonzalez as the driver of the silver Ford F-250 that transported
him via a six-person photo line-up.

SUBSCRIBED and SWORN to before me on

24th day of August, 2022

 

/S/ Ramirez, Edilberto Border Patrol Agent

 

 

Signature of Judicial Officer Signature of Complainant
